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                             UNITED STATES DISTRICT COURT

                                 DISTRICT OF OREGON

                                  PORTLAND DIVISION


 DALLAS BUYERS CLUB, LLC,                    Case No.: 3:15-cv-0907-AC

               Plaintiff,                    DEFENDANT’S
 v.                                          OPPOSITION TO PLAINTIFF’S
                                             MOTION FOR PARTIAL SUMMARY
 JOHN HUSZAR                                 JUDGMENT

               Defendants.                   FRCP 56




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           Defendant John Huszar (“Huszar”) opposes Plaintiff Dallas Buyers Club, LLC’s (“DBC”),

motion for partial summary judgment on liability for copyright infringement. (See Dckt 122).

DBC’s motion should be denied as triable issues of material fact remain regarding:

               Evidence of licenses and agreements where a reasonable factfinder could conclude

                DBC does not have ownership of the work when the claim was made.

               Proof of copyright infringement.

               The conclusion of “willful infringement”.

           All of these issues are DBC’s burden of proof at trial. See United States Court for the

Ninth Circuit Manual on Model Jury Instructions 17.5 COPYRIGHT INFRINGEMENT—

ELEMENTS—OWNERSHIP AND COPYING1.

           DBC has failed to meet its burden under Rule 56 and this motion should be denied.


                                                   MEMORANDUM
           I.      BACKGROUND
           DBC has brought hundreds of lawsuits and has sued thousands of defendants over the use

of BitTorrent. DBC’s model of litigation is known as “sue and settle”. DBC alleges infringement

and hopes for a quick settlement. When a defendant demonstrates a willingness to litigate, DBC

dismisses without prejudice. No DBC case has progressed to a jury trial. (Declaration of J. Curtis

Edmondson).

           A. Defendant Huszar running an ISP with Tor

           Huszar runs a small ISP in Oregon City where he configured a “Tor Exit Relay” using IP

address 173.11.1.241. Tor exit relays serve as entry points for people on the Tor network. As such

the Tor exit node would operate much like “Open Wi-Fi” so that hundreds, if not thousands, of



1
    http://www3.ce9.uscourts.gov/jury-instructions/node/326

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people from around the world would appear to be using Huszar’s IP Address.

       Although Huszar was at times represented by “Pro Bono” counsel, by the time he was

served with the Second Amended Complaint he was unrepresented and in poor health. (Dckts 63,

65). Huszar filed a pro se Answer and clearly asserted a general denial to all claims. (Dckt 71).

DBC moved to strike the entire Answer (Dckt 72), which this Court partially denied, striking only

those portions relating to Huszar’s health and settlement negotiations between the parties. (Dckt

95).

       Huszar’s Answer specifically set forth facts in support of his general denial of Plaintiff’s

allegations, namely:

       1) He operated an “open” computer system, which also acted as a Tor exit node, which
          was accessible to third parties via Wi-Fi, including his roommates.
       2) He was “pro se” when Plaintiff’s Request for Admissions were “deemed admitted.”
          (Huszar’s Answer, Dckt 71)

       Huszar’s position has not changed, regardless of any vague inferences DBC now seeks to

exploit. Instead, Huszar has specifically and continuously denied the wrongdoing alleged by DBC.

(Dckts 39, 40-2, 71).



       II.     STANDARD

       As Plaintiff noted, “[t]o establish a claim of copyright infringement by reproduction, the

plaintiff must first show ownership of the copyright and copying by the defendant [of that

copyrighted work].” Kelly v. Arriba Soft Corp., 336 F.3d 811, 817 (9th Cir. 2003); see also, Printex

Indus., Inc. v. Aeropostale, Inc., 676 F.3d 841, 846 (9th Cir. 2012). When causation of the copying

of that work is at issue, as is here, a plaintiff must also prove a third element by the preponderance

of evidence--that defendant was close enough to the infringing event to be considered to be the

most important cause.


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       Accordingly, DBC bears the burden of proving:

       a.      It is the owner of a valid copyright for the work;
       b.      Defendant copied that specific copyrighted work; and
       c.      Defendant was at least the most important cause of the copying of that work.


       The moving party, DBC, has the burden of establishing the absence of a genuine dispute

of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). “Conversely, to avoid

summary judgment, the nonmovant, Defendant, need only designate specific facts showing that

there is a genuine issue for trial.” Makaeff v. Trump Univ., LLC, 736 F.3d 1180, 1189 (9th Cir.

2013) (citation and quotation marks omitted). The court must view the evidence in the light most

favorable to the nonmovant, Defendant, and draw all reasonable inferences in the nonmovant’s

favor. Clicks Billiards Inc. v. Sixshooters Inc., 251 F.3d 1252, 1257 (9th Cir. 2001) (emphasis

added). “Where conflicting inferences may be drawn from the facts, the case must go to the jury.”

Pyramid Technologies, Inc. v. Hartford Cas. Ins. Co., 752 F.3d 807, 818 (9th Cir. 2014) (emphasis

added)(citation and quotation marks omitted).



                                         ARGUMENTS
       III.    CONFLICTING EVIDENCE OF COPYRIGHT OWNERSHIP

       DBC claims the Court should simply adopt the statement that DBC “owned” the movie on

the date of infringement. However, there are two cases – one in Texas and one in Australia where

DBC was the plaintiff, that create a triable issue of material fact on copyright ownership.

       DBC bears the burden of proving it is the owner of a valid copyright ownership for the

work, Dallas Buyers Club. In an attempt to meet this burden, DBC offered the Copyright

Registration, pleadings in the record, and requests for admission that were deemed admitted while

Defendant was pro se. However, the evidence shows there exists a dispute, rebutting the



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presumption of a valid copyright.



       A. Australia lawsuit reveals relevant documents not produced in discovery here related
          to ownership of the right to sue for copyright infringement

       DBC has sued BitTorrent infringers in Australia where a case was extensively litigated. In

the DBC-Australia Case [Dallas Buyers Club LLC v iiNet Limited [2015] FCA 317], the Judge

Perram made extensive factual findings regarding the ownership of the film Dallas Buyers Club

referencing several documents, unmentioned in DBC’s moving papers. Judge Perram identified

and reviewed one such document, stating:

       If matters rested there it would follow that the owner of the copyright was Dallas Buyers
       Club LLC. The ISPs, however, submitted that if Dallas Buyers Club LLC had originally
       been the copyright owner then that copyright was assigned to Picture Perfect Corporation
       ('Picture Perfect') under a Distribution Licence Agreement dated 18 October 2012.

       (RJN 3, para 37)

       This was denied by the applicants who submitted that the agreement operated merely as an
       exclusive licencing arrangement. The question of whether it operated as an assignment or
       a licence is not, however, one which needs to be resolved.
       (id., para 38).


        a “Distribution License Agreement” between Picture Perfect Corporation, dated October

18, 2012. (RJN, ⁋ 37). Huszar was made aware of the existence of other copyright ownership

licenses where third parties can, have, or may, assert ownership over the film. (Depo. of Michael

Wickstrom, p.60:9 – 15).

       Michael Wickstrom testified at a hearing in the Australian case [Depo. of Michael

Wickstrom, (p. 54:22-23)] and had his deposition taken on behalf of DBC under 30(b)(6) in this

case. At Wickstrom’s deposition in this matter, he called the Australian barrister “slick” and

claimed he was trying to “twist his words”. (Depo. of Michael Wickstrom, p. 57:12; p. 55:21). All



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of this serves to raise even further questions about title to DBC as Wickstrom now disputes the

holding of the Australian Court. The fact Wickstrom works for Voltage, and not for DBC, raises

bigger question of who owns this film. (Depo. of Michael Wickstrom, p.32:10; p. 35:17).

           Huszar requested copies of the aforementioned licenses, which DBC never produced.

Without these, Huszar and Court would be left to speculate as to the true and proper owner of the

specific film iteration DBC alleges Huszar copied. However, this is DBC’s ultimate burden to

prove. Kelly v. Arriba Soft Corp., 336 F.3d 811, 817 (9th Cir. 2003); see also, Printex Indus., Inc.

v. Aeropostale, Inc., 676 F.3d 841, 846 (9th Cir. 2012). DBC has failed to do so in a manner that

stands up to review under a light most favorable to Huszar and with all reasonable inferences being

drawn in Huszar’s favor.


           B. DBC-TX, DBC-CA, and Truth Entertainment sued Voltage and assert Truth
              Entertainment own the move Dallas Buyers Club


           Furthermore, in a 2015 filing in Texas, DBC-TX, DBC-CA, and Truth Entertainment,

Plaintiffs in that case, asserted that Truth Entertainment was the owner of DBC. See Dallas Buyers

Club, et. al vs. Voltage Pictures, et.al, Cause Number 15-06-060-49, 2015, attached as RJN 2.

(“Texas Complaint”). The Texas Complaint stated:

                    Truth Entertainment, LLC (“Truth”) is a Texas movie production company
                    based in The Woodlands, Texas. Joe D. Newcomb is the Chairman and
                    CEO of Truth. Truth is the owner, and was a producer, of the movie Dallas
                    Buyers Club. (RJN, p. 2)


This creates another triable issue as to ownership of the right to sue for copyright infringement.

Odder still are two independently organized legal entities named Dallas Buyers Club, LLC2

apparently in two separate states – California and Texas.


2
    The Copyright Certificate does not indicate which entity is the owner, leaving further ambiguity to ferret out.

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       Judicial estoppel should act to make a determinative fact showing issues as to DBC’s right

to sue for copyright infringement. Judicial estoppel is an equitable doctrine that prevents a litigant

from playing fast and loose with the facts. The Ninth Circuit in Ryan laid out this doctrine very

clearly. Ryan v. Editions Ltd. W., Inc., 786 F.3d 754, (9th Cir. 2015):

               Judicial estoppel is an equitable doctrine that the court has discretion to
               invoke to prevent a litigant from taking contradictory positions. Russell v.
               Rolfs, 893 F.2d 1033, 1037 (9th Cir. 1990). The doctrine is “intended to
               protect against a litigant playing ‘fast and loose with the courts.’ ” Rockwell
               Int'l Corp. v. Hanford Atomic Metal Trades Council, 851 F.2d 1208, 1210
               (9th Cir.1988). “The emphasis is not on a hard and fast rule, but rather on
               prevention of ‘intentional self-contradiction ... as a means of obtaining
               unfair advantage.’ ”

               Arizona v. Shamrock Foods Co., 729 F.2d 1208, 1215 (9th Cir. 1984)
               (quoting Scarano v. Cent. R. Co. of N.J., 203 F.2d 510, 513 (3d Cir. 1953)


       In the case at bar, because of facts established in other courts, there is a genuine issue as to

whether or not DBC owns the right to sue for copyright infringement. The presentment of only the

copyright certificate (one that is not actually in evidence as there is no attestation as to if the one

presented is a true and correct copy) simply does not prove DBC still owns the copyright. Due to

facts established elsewhere, this translates into a disputed issue of material fact regarding

ownership. As such, the ability for DBC to sue is not established, and thus a triable issue exists.



       IV.     HUSZAR’S ANSWER AND GENERAL DENIAL

       Huszar’s Answer operated as a general denial under FRCP Rule 8(b)(3). The rule on

general denials is:

               Federal Rule of Civil Procedure 8(b)7 allows a party to contest the
               particulars of a complaint simply by issuing a general denial in a responsive
               pleading. See 5 Charles Allen Wright & Arthur R. Miller, Federal Practice
               & Procedure § 1265 (3d ed.2004), at 546-47 ("Wright & Miller") ("No
               prescribed set of words need be employed in framing the general denial;

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               any statement making it clear that the defendant intends to put in issue all
               of the averments in the opposing party's pleading is sufficient.").

               In re Sterten, 546 F.3d 278,283 (3rd Cir. 2008)

       DBC’s reading of FRCP 8(b)(6) ignores the language in FRCP 8(b)(3). Huszar preserved

a general denial through his eight page Answer filed at Docket 71. Pages 5-8 of the Answer are

very emphatic regarding his denial of liability and the reasons why. Answers are to be read broadly

in a manner that does not prejudice the other party. Allied Chem. Corp. v. Mackay, 695 F.2d 854,

855-56 (5th Cir. 1983). DBC cannot claim prejudice because they already moved to strike the

Answer which was denied except for health and settlement facts.


       V.       FACTS ESTABLISHED BY THE REQUESTS FOR ADMISSIONS

       a.    Infringement is not established by default admissions that are overly broad
and further do not address the required element of originality

       DBC has offered requests for admissions (RFA) deemed admitted to prove: (1) there are

no genuine disputes of material fact as to liability, and (2) that Huszar willfully infringed the

specific film they purport to hold a copyright to. However, these admissions are largely irrelevant

or lack sufficient specificity to support either of DBC’s contentions. The admissions equally fail

to meet DBC’s ultimate burden to prove it is the valid owner of a copyrighted work; Huszar

infringed that specific copyrighted work, or even that if the infringement was indirect, that Huszar

was close enough to the act to be considered the most important cause.

       However, the conclusion of law “copyright infringement” cannot be determined by an RFA

as the RFAs eliminate the essential element of proof, that the part copied was “original”. RFAs

that are conclusions of law are improper as a matter of law; See Playboy Enterprises, Inc v. Welles

60 F. Supp 2d 1050; also see Benson Tower Condo. Owners Ass'n, an Or. Nonprofit Corp. v.

Victaulic Co., 105 F.Supp.3d 1184,1196 (D. Or. 2015) stating Tulip Computers Int'l, B.V. v. Dell

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Computer Corp., 210 F.R.D. 100, 108 (D. Del. 2002) (“holding that “determining whether a patent

is valid would call for a legal conclusion although dependent on factual inquiries”).

         While the admissions may narrow the facts for the jury to consider, DBC did not submit

the obvious smoking-gun request for admission--Admit Defendant infringed the film Dallas

Buyers Club on the date specified in the complaint. Instead, the requests largely focus on irrelevant

concerns or general vagaries. The specific requests at issue are:

i.       Admit that defendant John Huszar has used the BitTorrent protocol for the exchange of
         files with others in violation of U.S. copyright law

         Even if deemed admitted, this admission does not directly speak to any of DBC’s ultimate

issues, which are establishing: (1) copyright ownership of a work; (2) direct infringement of that

work, or (3) at least being the most important cause of indirect infringement of that work.

         At most, DBC can attempt to draw an inference in their favor here—that Defendant may

have infringed their work. However, such would be wholly inappropriate at present. This

admission must be viewed in the light most favorable to the Defendant—that Defendant did not

infringe the specific work DBC claims ownership to. As conflicting inferences can be drawn from

this proffered fact, it simply highlights a genuine dispute of material fact that must go to a jury.

ii.      Admit that prior to the filing of this suit John Huszar was familiar with the use of
         BitTorrent for the downloading of media

         This admission is also wholly irrelevant to any of DBC’s ultimate issues and at best can

again only be used as a loose inference in their favor here—that because Defendant was familiar

with using BitTorrent for downloading media, he may have infringed their work. However, the

same application of law applies here as above. This admission must be viewed in the light most

favorable to Defendant—that Defendant did not infringe the specific work DBC claims ownership

to. As conflicting inferences can be drawn from this proffered fact, it again highlights a genuine



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dispute of material fact.

iii.      Admit that John Huszar, without permission or consent of the authors, willfully copied
          and distributed multiple copyrighted files through a public peer-to-peer network

          Unless those works are owned by DBC and claimed as part of the infringement in the suit,

this is simply irrelevant. Not to mention, since it only mentions authors and not the copyright

holders, we have no idea as to whether or not Huszar had a license, nor what works these were.

iv.       Admit that John Huszar, without permission or consent of plaintiff copied and distributed
          at least portions of the motion picture Dallas Buyers Club through a public BitTorrent
          network

          While at first blush this request may appear facially relevant and significant to DBC’s

stance, it does not hold up to review in the light most favorable to Huszar. Wholly unspecified and

left up to inference are such things as intent, proximity to the copying, and the actual thing being

copied and distributed. This admission is fully applicable to any of the following plausible

scenarios: (1) admitting Huszar copied and distributed a trailer to the motion picture Dallas Buyer

Club through a public BitTorrent network; (2) admitting Huszar copied and distributed portions of

the film that are uncopyrightable (black screen in the credits). More importantly, it does not specify

on what time and date alleged in the complaint, that infringement has not been acted upon by DBC.

          As noted above, for the purpose of DBC’s Motion, this admission must be viewed in the

light most favorable to Huszar. As such, it serves to only provide vague inferences. Conversely,

Huszar has repeatedly and specifically denied on the record, including his Answer, the specific

wronging alleged by DBC. (Dckts 39 to 40-2, 72). For these reasons, this purported evidence only

serves to further highlight a genuine dispute of material fact and illustrate that DBC lacks sufficient

evidence to meet its burden of proof.




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       b. Willfulness cannot be proven when it is clear that Tor and open Wi-Fi was
          involved

       DBC has taken the extraordinary step of also seeking summary judgment for a finding of

willful infringement. However, willfulness as a conclusion of law also cannot be determined by

an RFA (see above). As for the factual elements that would lead a party to a proof of willfulness,

DBC’s moving papers do not have sufficient facts that show Huszar’s “state of mind” regarding

willfulness.

       As noted by DBC, “a finding of ‘willfulness' in this context [Under the Copyright Act] can

be based on either ‘intentional’ behavior, or merely ‘reckless' behavior.” In re Barboza, 545 F.3d

702, 707 (9th Cir. 2008) (citations omitted). “To prove ‘willfulness' under the Copyright Act, the

plaintiff must show (1) that the defendant was actually aware of the infringing activity, or (2) that

the defendant's actions were the result of ‘reckless disregard’ for, or ‘willful blindness' to, the

copyright holder's rights.” Louis Vuitton Malletier, S.A. v. Akanoc Sols., Inc., 658 F.3d 936, 944

(9th Cir. 2011) (quoting Island Software & Computer Serv., Inc. v. Microsoft Corp., 413 F.3d 257,

263 (2d Cir. 2005)).

       Notably, a determination of willfulness requires an assessment of a defendant's state of

mind. “Questions involving a person's state of mind ... are generally factual issues inappropriate

for resolution by summary judgment.” F.T.C. v. Network Servs. Depot, Inc., 617 F.3d 1127, 1139

(9th Cir. 2010) (quoting Braxton – Secret v. A.H. Robins Co., 769 F.2d 528, 531 (9th Cir. 1985)).

       It is important to reiterate that in the context of its motion, DBC bears the burden of

establishing the absence of genuine disputes of material facts. Moreover, in doing so, all facts

offered by DBC must be construed in the light most favorable to Huszar and any conflicting

inferences highlight disputed facts that must go to a jury, as set forth in the preceding section.

       To support its request for a finding of willful intent, DBC has proffered general admissions

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deemed admitted against a pro se party. Huszar invites the Court to simply review those “smoking

gun” admissions at their face value and in the light most favorable to Huszar, while noting the

many conflicting inferences they serve to highlight. Huszar notes these admissions, even if taken

at face-value, serve only to provide vague, generalized inferences, or are completely irrelevant to

the ultimate issues. As such, DBC’s request to find willful infringement is wholly undermined by

its very own purported evidence and must be denied by operation of law.

       Further cutting against DBC’s assertion of Huszar’s willful copyrighting is the very nature

of how Tor operates. Potentially thousands of people could have downloaded assorted media

through Huszar’s Tor network and Wi-Fi. For example:

       i.      A Tor exit node would give the appearance that Huszar was doing the downloading

       ii.     A open Wi-Fi would give the appearance that Huszar was doing the downloading

However, no investigation was done or presented by Plaintiff on any backup drives or other

computers that would indicate the volume of downloading

       It is DBC’s burden to prove Huszar’s actual intent, reckless disregard for, or willful

blindness to the copying of the specific iteration of the work they assert ownership to. See In re

Barboza, 545 F.3d 702, 707 (9th Cir. 2008), Louis Vuitton Malletier, S.A. v. Akanoc Sols., Inc.,

658 F.3d 936, 944 (9th Cir. 2011). Moreover, in the context of DBC’s motion, all evidence must

be viewed in the light most favorable to the nonmoving party, with any contradictory inferences

arising only serving to highlight issues unfit for summary judgment. (See Celotex Corp. v. Catrett,

477 U.S. 317, 323 (1986), Clicks Billiards Inc. v. Sixshooters Inc., 251 F.3d 1252, 1257 (9th Cir.

2001), Pyramid Technologies, Inc. v. Hartford Cas. Ins. Co., 752 F.3d 807, 818 (9th Cir. 2014)).

       In view of the evidence presented and equally plausible alternative circumstances, DBC

failed to produce evidence that could rise to the high standard of willful intent, let alone meet the



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burden of proof placed on parties moving for summary judgment on such an issue.



        c. Triable Issues of Fact Exist as to Plaintiff’s “Experts” and Monitoring Software
        In DBC’s Initial Disclosures and subsequent interactions, it has been made clear DBC

intends to rely on the testimony of such parties as Daniel Macek and Ben Parino from MaverickEye

UG to provide expert opinions about the monitoring software involved in this matter and to support

the veracity of DBC’s investigations. Mr. Parino is also expected to profess developing the

monitoring software used to purportedly observe the alleged copyright infringement. However,

both parties have previously been found to lack the qualifications, experience, education, and

licenses to offer such forensic or expert testimony. (Exhibit 4, at paragraphs 3-4).



        VI.     HUSZAR DENIES THE WRONGDOING ALLEGED BY DBC
        Huszar has repeatedly and directly denied the wrongdoing DBC alleges. (Dckts 39 to 40-

2, 72). In an effort to indicate otherwise, DBC seeks to draw inferences from general admissions

to both supersede Huszar’s direct, repeated denials and to prove the absence of genuine dispute on

the issue of liability.

        For the obvious reasons, Huszar’s repeated, direct denials trump mere inferences. This fact

is further compounded when the deemed admissions are examined at face value. DBC’s stance is

only tenable in the event the admissions are taken in the light least favorable to Huszar and most

favorable to DBC, a position expressly barred by application of law.



        VII.    SUMMARY JUDGMENT WOULD BE INAPPROPRIATE,
                INEQUITABLE, AND RUN COUNTER TO PUBLIC POLICY AND
                LEGAL STANDARDS

        As noted by DBC, there have been several counsel on this matter, and Huszar was pro se


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at the time DBC’s requests for admission were ultimately deemed admitted. When present counsel

joined this matter, it raised an inquiry into requesting to withdraw or amend those admissions under

FRCP 36(b). This Court advised against doing so, as it did not wish to relitigate issues at that time,

as a matter of judicial efficiency. However, in addition to judicial efficiency, there is a second

essential, mandatory prong when assessing appropriateness. As discussed in Conlon v. U.S., 474

F.3d at 622:


       Admissions are sought, first, to facilitate proof with respect to issues that cannot be
       eliminated from the case and, second, to narrow the issues by eliminating those that
       can be. Id. advisory committee note. The rule [36(b)] is not to be used in an effort
       to "harass the other side" or in the hope that a party's adversary will simply concede
       essential elements. Perez v. Miami-Dade County, 297 F.3d 1255, 1268 (11th Cir.
       2002). Rather, the rule seeks to serve two important goals: truth-seeking in
       litigation and efficiency in dispensing justice. See Fed.R.Civ.P. 36(b) advisory
       committee note. Thus, a district court must specifically consider both factors
       under the rule before deciding a motion to withdraw or amend admissions.
       (Emphasis added).

       In addition to these two mandatory factors, other factors may also be considered, “including

whether the moving party can show good cause for the delay.” Conlon, 474 F.3d at 625. In this

instance, Huszar was advised to not submit a 36(b) motion, with no commentary concerning truth-

seeking or good cause to do so. Should this interaction prove to be critical to this motion, the

interests of justice and public policy would not be served.



       VIII. IN THE ALTERNATIVE, ADDITIONAL DISCOVERY SHOULD BE
             ALLOWED UNDER RULE 56(d) BEFORE JUDGMENT IS GRANTED

       When facts are unavailable to the nonmovant party that render it unable to present facts

essential to justify its position, the court may allow time for additional discovery. FRCP 56(d).

Here, questions of fact remain as to:

           a. The accuracy, reliability, and nature of to the “Bittorrent Monitoring System”


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supposedly created and used to conduct investigations by DBC’s self-professed “experts” from

MaverickEye UG, whose credibility is disputed. (Exhibit 4, at paragraphs 3-4).

             b. The accuracy, reliability, and veracity of the investigatory data produced by or from

MaverickEye UG’s purported “Bittorrent Monitoring System”, which allegedly shows forensic

proof of infringement but whose credibility is disputed. Id.

             c. The specific distinction between the reference copy, alleged infringed copy, and

depository copy of the film Dallas Buyer’s Club. The copy provided to MaverickEye UG’s to

conduct its investigation has an encoding date a full ten (10) days prior to the public DVD release.

Thus, which specific work or iteration was MaverickEye UG actually tracking?

             d. Other copyright ownership licenses for the film Dallas Buyer’s Club have surfaced,

where third parties rather than DBC can, have, or may assert ownership of the film. (Depo. of

Michael Wickstrom (01/09/2018), p.60:9 – 15).

             e. Huszar requested copies of the aforementioned licenses, which DBC has yet to

produce. Without these, Huszar and the Court would be left to speculate as to the true and proper

owner of the specific film iteration Plaintiff alleges Defendant to have copied, which is Plaintiff’s

ultimate burden to prove. (See Dallas Buyers Club LLC v iiNet Limited [Ex 3]; Kelly v. Arriba

Soft Corp., 336 F.3d 811, 817 (9th Cir. 2003); see also, Printex Indus., Inc. v. Aeropostale, Inc.,

676 F.3d 841, 846 (9th Cir. 2012).

        With the current existence of so many remaining unknowns, Huszar is unable to present

essential facts for its case.3 Likewise, DBC cannot be said to have yet met its ultimate burden of

persuasion for proving copyright infringement, let alone willful infringement.


3
  As the transcripts to the FRCP 30(b)(6) depositions demonstrate, DBC did not attend and participate in these in
good faith. Mr. Young knew little for the topics he was designated for, and Mr. Wickstrom’s deposition was filled
with improper object after improper objection. Huszar is willing to lodge those transcripts with the Court if
requested.

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                                         CONCLUSION

       Huszar repeatedly and continuously denied the wrongdoing DBC alleges. Meanwhile,

DBC’s proof of copyright ownership is muddied, and its key evidence for proving liability and

willfulness, are deemed admissions obtained against a pro se witness.

       This evidence cannot be interpreted and stretched as DBC’s hopes, as such inferences must

instead be viewed in the light most favorable to Huszar. In that light, DBC has failed to establish

its ultimate burden of proving copyright infringement; failed to produce facts that stand up to

scrutiny, and has otherwise done little more than highlight the ongoing disputes between the parties

concerning ultimate issues.

       Therefore, DBC’s request for partial summary judgment should be denied. In the

alternative, Huszar should be allowed additional discovery, namely the production of the chain of

title with all mortgages and assignments as well as the production of a proper FRCP 30(b)(6)

designee on the topics requested by Huszar.




DATED: January 19, 2018                              Respectfully submitted,

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